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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEW JERSEY

In Re:                                             Honorable Andrew B. Altenburg Jr.

EDWARD J. HOVATTER and KIMBERLY                    Chapter 11
MACALUSO HOVATTER,
                                                   Case No. 19-31483-ABA
                        Debtors.
                                                   RESPONSE OF KENNETH FRIEDMAN
                                                   AND RANDI FRIEDMAN TO DEBTORS’
                                                   MOTION FOR RELIEF FROM THE
                                                   AUTOMATIC STAY (Docket No. 40)

                                                   Hearing Date: March 3, 2020
                                                   Hearing Time: 10:00 am.


         Kenneth and Randi Friedman (the “Friedmans”), by and through their undersigned

attorneys, hereby respond to the Debtors’ Motion for Relief from the Automatic Stay (the

“Motion”) as follows:

         1.     While the Friedmans do not object to the relief requested in the Motion, they do

not agree with many of the statements made in the Certification of Counsel submitted in support

of the Motion, and specifically reserve and preserve all rights to contest any such statements.

                                                             FLASTER/GREENBERG P.C.

                                                      By:    /s/ Harry J. Giacometti
Dated: March 2, 2020                                         Harry J. Giacometti, Esquire




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